        Case 1:20-cv-03010-APM Document 990 Filed 06/25/24 Page 1 of 1




UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, et al.,

                               Plaintiffs,
                                                       Case No. 1:20 cv 03010-APM
v.

GOOGLE LLC,

                               Defendant.


                           NOTICE OF CHANGE OF ADDRESS

       PLEASE TAKE NOTICE that the New York office of CLIFFORD CHANCE US LLP
is no longer located at 31 West 52nd Street and has moved to the following address:

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       All telephone numbers and email addresses remain the same.
Dated: June 25, 2024


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